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A0 9l (Rev.08109) Criminal Compluinr


                                        UNrrpo Srerps Drsrrucr CoURT
                                                                      fbr the
                                                        District r:f New Mexico

                 United States oi America
                                 v.
                   lvan SOTELO-Rascon                                           Case   No. 25-215MI


                           Defieilddtil(r)


                                                      CRIMINAL COMPLAINT

          l, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                        02n2,2025                     in the county   of            Dona   Ana        * in the
                       District of             New Mexico         , the defendant(s) violated:
                                                              -
            Ceile Secliott                                                         Offinse Description
18 U.S,C.2252A                                    Possession of Child Pornography




         This criminal conrplaint is based on tlrese facts:




         d Continued on the attached sheet.
                                                                                                     .-4

                                                                                        ^-dlrL                                       -_
                                                                                                 Lee Rivas. Soecial Aoent
                                                                                                     Printed name and tille
                                      Vl + flh^,t
Su,om to before nre and signed in my presence.


Date:            0211412025 *_


City and state:                              ElPaso, Texas        _                      Gregorv Fouratt, U.S. Masistrate     Judge *
                                                                                                     Prinled nome und title
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                                             Aiildavit
On February 12,2A25,lvan SOTELO-Rascon attempted entry into the United States through the
Santa Teresa. NM (STN) port of entry (POE). SOTELO-Rascon was referred to secondary
inspection. At secondary inspection, SOTELO-Rascon provided Customs and Border Protection
Officers (CBPOs) consent to search his Apple cell phone and provided the CBPOs rvith the pin.

During the search of SOTELO-Rascon"s cell phone, CBPO's found multiple photographs and
videos appearing to be Child SexualAbuse Material (CSAM). CBPOs contacted Homeland
Security Investigations (HSl) and advised them of their findings.

HSI SpecialAgent (SA) Rivas and HSI SA Avalos arived at the IiTN POE and were briefed on
the incident by CBPOs" CBPOs advised SOTELO-Rascon's cell phone was placed on airplane
mode. SA s then ohserved the photographs and videos stored on SOTELO-Rascon's Apple cell
phone and within chats in the WhatsApp messaging application.

SAs preliminary review determined the cell phone contained CSAM. One of the files is a video
depicting a nude pre-pubescent male child laying face up. An adult tbmale then gets on top of the
child whiclr results in the child's penis penetrating the adult female's vagina. The female then
places the child's penis in her mouth. Another video file depicts a nude pre-pubescent tbmale
child kneeling lvhile utilizing a prosthetic penis (also known as "dildo") to penetrate herself.
HSI SA Rivas advised SOTELO-Rascon of his Miranda Wamings in the Spanish language which
rvas rvitnessed hy SA Avalos. SOTELO-Rascon acknowledged he understood his rights and was
rvilling to speak to the SAs without having an attorney present. SA's proceeded to interview
SOTELO-Rascon. The fcrllowing is a summary of some of the statements made by SOTELO-
Rascon.

    r SOTELO-Rascon identified the Apple cell phone as belonging to him.
    r SOTELO-Rascon admitted to being part of a Discord applicatiern chat where child
        ponrography was received.
    .   SOTELO-Rascon adnritted to downloading the videos saved on his Apple cell phone anel
        acknowledged tlrey were videos containing CSAM.

Because this Affidavit is being subnritted for the limited purpose of establishing probable cause
as set forth herein" I have not included each and every fact known to me conceming this
investigation.




                                               Respectf'ully submitted.




                                               SpecialAgent
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                                  Homeland Seourity Invcstigations




SWORN AND SI.'BSCRIBED TO BEFORB ME




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U.S. Magisnate Judge
